          Case 2:17-cv-01361-RSM Document 70 Filed 12/19/19 Page 1 of 1
                                                                          FILED
                     UNITED STATES COURT OF APPEALS                        DEC 19 2019

                                                                       MOLLY C. DWYER, CLERK
                             FOR THE NINTH CIRCUIT                      U.S. COURT OF APPEALS




JOVANNA EDGE, an individual; et al.,            No.   17-36038

               Plaintiffs-Appellees,            D.C. No. 2:17-cv-01361-MJP
                                                Western District of Washington,
 v.                                             Seattle

CITY OF EVERETT, a Washington
municipal corporation,                          ORDER

               Defendant-Appellant.


Before: IKUTA and CHRISTEN, Circuit Judges, and CHOE-GROVES,* Judge.


      Plaintiffs-Appellees’ motion for an extension of the stay of the mandate

pending filing of a petition for writ of certiorari is GRANTED. The mandate shall

be stayed until February 3, 2020.




      *
             The Honorable Jennifer Choe-Groves, Judge for the United States
Court of International Trade, sitting by designation.
